                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


  PRISON LEGAL NEWS, a project                       )
  of the HUMAN RIGHTS DEFENSE                        )
  CENTER,                                            )
                                                     )
          Plaintiff,                                 )
                                                     )
  v.                                                 )     No. 3:15-CV-452-TAV-CCS
                                                     )
  JAMES “J.J.” JONES, Sheriff of Knox                )
  County, Tennessee, in his official and             )
  individual capacities;                             )
  RODNEY BIVENS, Assistant Chief                     )
  Deputy of the Knox County Sheriff’s                )
  Office, in his official and individual             )
  capacities; and KNOX COUNTY,                       )
  TENNESSEE,                                         )
                                                     )
          Defendants.                                )

           NOTICE OF COMPROMISE AND DISMISSAL OF REMAINING CLAIMS
                   FOR ATTORNEYS’ FEES, COSTS AND EXPENSES
                        AND STIPULATION OF DISMISSAL

          Come now the parties, Knox County, Tennessee and Plaintiff and its attorneys, and serve

  notice that the stipulated damages in this case have been paid and satisfied and all remaining claims

  including but not limited to post-judgment interest, attorneys’ fees, costs (including the bill of costs)

  and expenses have been compromised and settled and paid. Accordingly, counsel for all parties who

  have appeared in this case hereby stipulate to the dismissal of this action, with prejudice, pursuant to

  Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.




Case 3:15-cv-00452-TAV-DCP Document 77 Filed 04/04/18 Page 1 of 2 PageID #: 1533
            Respectfully submitted this 4th day of April, 2018.


                                                   /s/ Sabarish Neelakanta_____________
                                                   Sabarish Neelakanta
                                                   HUMAN RIGHTS DEFENSE CENTER
                                                   P.O. Box 1151
                                                   Lake Worth, FL 33460

                                                   /s/ Tricia Herzfeld                 ______
                                                   Tricia Herzfeld
                                                   Branstetter, Stranch & Jennings, PLLC
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                                                   /s/ David S. Wigler
                                                   David S. Wigler (TN BPR # 014525)
                                                   Deputy Knox County Law Director
                                                   Suite 612, City-County Building
                                                   400 Main Street
                                                   Knoxville, TN 37902
                                                   (865) 215-2327




                                       CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing was filed electronically on this 4th day of April,

  2018. Notice of this filing will be sent by operation of the Court’s electronic filing system to all

  parties indicated on the electronic filing receipt. All other parties will be served by regular United

  States Mail, postage prepaid. Parties may access this filing through the Court’s electronic filing

  system.

                                                   /s/ Tricia Herzfeld________
                                                   Tricia Herzfeld


                                                       2




Case 3:15-cv-00452-TAV-DCP Document 77 Filed 04/04/18 Page 2 of 2 PageID #: 1534
